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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:06-cr-00035-MP-AK

BRUCE DAVID ADAMS,

      Defendant.
________________________________/

                                          ORDER

       This matter is before the Court on a status conference held on Wednesday, March 28,

2007. During the conference, Defendant Adams stated that he was ready for trial, and that

resolution of the pending motion to suppress, Doc. 107, would not require a continuance. The

Government stated that it will soon file its response to the Defendant’s motion to suppress. Telephone

conference on the motion to suppress is hereby set for Wednesday, April 4, 2007, at 9:00 a.m.



       DONE AND ORDERED this            28th day of March, 2007




                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
